
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-019-CR



MERRY KUBICEK	APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM THE 367
TH
 
DISTRICT COURT OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. &nbsp;
 
Tex. R. App. P.
 
42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. &nbsp;
See 
Tex. R. App. P.
 
42.2(a), 43.2(f). 				

PER CURIAM



PANEL: &nbsp;DAUPHINOT
, WALKER
, and MCCOY, JJ.



DO NOT PUBLISH

Tex. R. App. P.
 
47.2(b)



DELIVERED: December 23, 2008
	

FOOTNOTES
1:See
 
Tex. R. App. P.
 
47.4.




